8:02-cr-00164-LSC-TDT          Doc # 511   Filed: 09/21/06    Page 1 of 1 - Page ID # 1627




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF    AMERICA,      )              CASE NO. 8:02CR164
                                              )
             Plaintiff,                       )
                                              )
             vs.                              )
                                              )                    ORDER
YAMIL RIVERA-KADER,                           )
                                              )
             Defendant.                       )

      This matter is before the Court on the Defendant’s motion to file under seal a

memorandum brief in support of the Defendant’s motion for deviation (Filing No. 510).

      IT IS ORDERED:

      1.     The Defendant’s motion to seal (Filing No. 510) is granted; and

      2.     The memorandum brief in support of the motion for deviation shall be filed

             under seal.

      DATED this 21st day of September, 2006.

                                                  BY THE COURT:

                                                  S/ Laurie Smith Camp
                                                  United States District Judge
